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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                       GAINESVILLE DIVISION

DAN C. TUTTLE, JR.,                        )
JONI H. TUTTLE, and                        )
DAN C. TUTTLE, SR.,                        )
                                           )
      Plaintiffs,                          )
                                           )
v.                                         )         CIVIL ACTION NO.:
                                           )          2:17-CV-207-RWS
KOLTER SIGNATURE HOMES                     )
OF GEORGIA, LLC,                           )
THE KOLTER GROUP, LLC,                     )
OK LAKE LANIER, LLLP,                      )
OK JV1 GP, LLC,                            )
OZRE KLPE JV1, LLLP,                       )
ROBERT A. RADEMACHER, and                  )
STRACK, INC.,                              )
                                           )
      Defendants.                          )
                                           )

                                      ORDER

      This matter is before the Court on Plaintiffs’ and Defendants’ Joint Notice of

Settlement of Claims.

      Upon consideration of the Notice and for good cause shown, the Court hereby

stays the deadline for Defendants to file their response to Plaintiffs’ Complaint until

April 6, 2018.
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SO ORDERED this ___ day of                      , 2018.



                             RICHARD W. STORY
                             United States District Judge




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